Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 1 of 27

EXHIBIT A
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 2 of 27

Court File No. 09-CL-7950

ONTARIO
SUPERIOR COURT OF JUSTICE
(COMMERCIAL LIST)

IN THE MATTER OF THE COMPANIES’ CREDITORS
ARRANGEMENT ACT, RS.C, 1985, c. C-36, AS AMENDED

AND IN THE MATTER OF A PLAN OF
COMPROMISE OR ARRANGEMENT OF
NORTEL NETWORKS CORPORATION, NORTEL NETWORKS LIMITED,
NORTEL NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS
INTERNATIONAL CORPORATION AND NORTEL NETWORKS
TECHNOLOGY CORPORATION (the “Applicants”) .

EIGHTH REPORT OF THE MONITOR
DATED APRIL 24, 2009

INTRODUCTION

1, On January 14, 2009, Nortel Networks Corporation (“NNC” and collectively with all
its subsidiaries, “Nortel” or “Company”), Nortel Networks Limited (“NNL”), Nortel
Networks Technology Corporation (“NNTC”), Nortel Networks International
Corporation (“NNIC”) and Nortel Networks Global Corporation (“NNGC”) filed for
and obtained protection under the Companies’ Creditors Arrangement Act—
(“CCAA”). Pursuant to the Order of this Honourable Court dated January 14, 2009
and as amended and restated on April 7, 2009 (the “Second Amended and Restated
Initial Order”), Ernst & Young Inc. (“EY”) was appointed as the Monitor of the
Applicants (the “Monitor”) in the CCAA proceeding. The stay of proceedings was
extended to May 1, 2009 by this Honourable Court in its Order dated February 10,
2009.
2.

Case 09-10138-MFW_ Doc 667-2 Filed 04/26/09 Page 3 of 27

Nortel concurrently filed voluntary petitions under Chapter 11 of the U.S. Bankruptcy
Code (the “Code”) in the U.S. Court on January 14, 2009, for Nortel Networks Inc.
(“NNI”) and certain of its U.S. subsidiaries (the “U.S. Debtors”).

Nortel Networks UK Limited (‘NNUK”) and certain of its subsidiaries located in
EMEA (together the “EMEA Filed Entities”) were granted Administration orders (the
“U.K. Administration Orders”) by the English High Court (the “U.K. Court”) on
January 14, 2009, The U.K. Administration Orders appointed Alan Bloom, Stephen
Harris, Alan Hudson and Chris Hill of Emst & Young LLP as Administrators of the
various EMEA Filed Entities, except for Ireland, to which David Hughes (Ernst &
Young LLP Ireland) and Alan Bloom were appointed.

On January 20, 2009, Nortel Networks Israel (Sales and Marketing) Limited and
Nortel Communications Holdings (1997) Limited (together “NN Israel”) were
granted Administration orders by the court in Israel (the “Israeli Administration
Orders”). The Israeli Administration Orders appointed representatives of Ernst &
Young LLP in the U.K. and Israel as Administrators of NN Israel and provided a stay
of NN Israel’s creditors which, subject to further orders of the Israeli Court, remains

in effect during the Administration.

PURPOSE

5.

The purpose of this eighth report of the Monitor (the “Eighth Report”) is to provide

this Honourable Court with an update in respect of the following:
a) operations update;
b) other insolvency proceedings update;
c) cash position, performance and cash flow forecast;

d) progress on restructuring initiatives;
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 4 of 27

e) Group Supplier Protocol Arrangements;
f) Export Development Canada Facility;
g) NNI Loan;

h) stakeholder matters;

i) motions for the appointment of representative counsel and payment motions;

and
j) request for an extension to the stay of proceedings.
TERMS OF REFERENCE

6. In preparing this Report, EYI has relied upon unaudited financial information, the
Company’s books and records, financial information prepared by the Company, and
discussions with management of Nortel. EYI has not audited, reviewed, or otherwise
attempted to verify the accuracy or completeness of the information and, accordingly,
EYI expresses no opinion or other form of assurance on the information contained in

this Report.

7. Unless otherwise stated, all monetary amounts contained herein are expressed in U.S.

dollars.

8. Capitalized terms not defined in this Report are as defined in the Affidavit of John
Doolittle sworn on January 14, 2009 (the “Doolittle Affidavit”), the Pre-Filing Report

or previous Reports of the Monitor.
GENERAL BACKGROUND

9. Nortel is a technology company that designs, develops and deploys communication
products, systems, and solutions to its carrier and enterprise customers around the

globe. Its principal assets include its people, the intellectual property derived and
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Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 5 of 27

maintained from its R&D activities, its customers and other significant contracts and

agreements.

Nortel conducts its global business through three reportable business unit segments,
Carrier Networks (“CN”), Enterprise Solutions (“ES”) and Metro Ethernet Networks
(“MEN”). The revenue and assets of each of the business units is distributed among

the multiple Nortel legal entities and joint ventures around the world.

The Monitor has made various materials relating to the CCAA proceedings available
on its website at www.ey.com/ca/nortel. The Monitor’s website also contains a
dynamic link to Epiq Bankruptcy LLC’s website where materials relating to the
voluntary proceedings under Chapter 11 of the Code are posted.

OPERATIONS UPDATE

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Nortel has continued to engage with its existing customer base to maintain delivery of
products and services and to minimize interruptions as a result of the insolvency
proceedings and to resolve any interruptions in a timely manner. New sales
opportunities continue to be explored and Nortel remains active in developing

business cases and responding to proposals for new business.

At the beginning of the proceedings, Nortel established a senior procurement team,
along with appropriate advisors, to promptly address supplier issues and concerns as they
arose to ensure ongoing supply of goods and services and minimize any disruption in the
Applicants’ global supply chain. This procedure continues to function effectively and

any supply chain issues are being dealt with on a timely basis.

As detailed in the Pre-Filing Report, NNL entered into an amending agreement with its
largest supplier, Flextronics (the “Flextronics Amending Agreement”), to ensure ongoing
supply of goods and services on a post filing basis. The Monitor understands that since

entering in to the Flextronics Amending Agreement, the Applicants and Flextronics
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 6 of 27

continue to discuss various aspects of the Flextronics Amending Agreement and other

matters relating to this relationship.
OTHER INSOLVENCY PROCEEDINGS UPDATE
U.K. Administration

15. The U.K. Administrators held creditor meetings for each of the EMEA Filed Entities
between mid and late March. The purpose of the creditor meetings was to appoint
creditor committees where appropriate and to approve the U.K. Administrators’ plan
of conduct for the post filing period. The U.K. Administrators’ plans of conduct were
approved in all instances and creditor committees were appointed in the majority of

estates.

16, The U.K. Administrators have continued to operate the businesses and are evaluating
the Company’s restructuring opportunities in a collaborative manner with Company
management, the Monitor and other significant stakeholder representatives, including
the Ad Hoc Bondholder Committee and the UCC (together the “Committees”.

Chapter 11 Proceedings

17. The following is a summary of the court orders that have been issued and the
financial information that has been filed in the U.S. Chapter 11 proceedings since the
last update provided in the Monitor’s First Report.

18. On February 23, 2009, the U.S. Debtors obtained an order authorizing the Rejection

of certain non-residential real property leases.

19,On February 27, 2009, the U.S. Debtors obtained an order approving the sales

procedures for the sale of the Layer 4-7 Business to Radware.

20. On March 5, 2009, the U.S. Debtors obtained an order
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 7 of 27

a) Authorizing the KERP and KEIP with respect to non-senior leadership team

executives; and

b) Further extending the U.S. Debtors’ deadline for filing schedules of assets and

liabilities and statements of financial affairs.
21. On March 20, 2009, the U.S. Debtors obtained an order

a) Authorizing the KEIP with respect to the senior leadership team executives;

and

b) Approving the procedures for the rejection of executory contracts and

unexpired leases.

22. On March 26, 2009, the U.S. Debtors obtained an order confirming and approving the

sale of the Layer 4-7 Business to Radware.
23. On April 9, 2009, the U.S. Debtors obtained an order

a) Authorizing payment of certain prepetition pension obligations (minimum

funding contributions);

b) Approving the omnibus settlement procedures to resolve certain claims and

controversies; and
c) Establishing uniform procedures regarding Section 503(b) (9) claims.

24.On April 13, 2009, the U.S. Debtors filed its Debtor-in-Possession Monthly
Operating Report for the period January 14, 2009 to February 28, 2009.

25.On April 20, 2009, the U.S. Debtors filed Statements of Financial Affairs for NNI,
Nortel Networks Capital Corp., Alteon Websystems Inc. and Nortel Networks Int’l
Inc. In addition, the U.S. Debtors filed Schedules of Assets and Liabilities and

Statements of Financial Affairs for certain other dormant Chapter 11 entities.
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 8 of 27

Chapter 15 Proceedings

26. On February 27, 2009, the U.S. Court entered an order pursuant to Chapter 15 of the
Code recognizing the Applicants’ CCAA proceedings as a "foreign main proceeding"
and enforcing the terms of the amended and restated initial order (and any
amendments or extensions thereto) of the Ontario Court dated February 10, 2009 in
the U.S. (the "First Amended and Restated Initial Order"). The Monitor has also filed
with the U.S. Court and served on required parties motions to enforce this
Honourable Court's bidding procedures order dated February 27, 2009 and the
approval and vesting order dated March 30, 2009 in relation to the sale of Nortel's
Layer 4-7 Business, The U.S. Bankruptcy Court entered orders enforcing each order
in the U.S. on March 5, 2009 and April 9, 2009, respectively. The Monitor has also
filed with the U.S. Bankruptcy Court and served on required parties notices of each of
its reports to this Honourable Court and subsequent amendments to the Initial Order.
The Monitor has also filed and served these notices in the chapter 11 cases for the

_ U.S. Debtors.

CONSOLIDATED CASH POSITION AND LIQUIDITY AS AT APRIL 11, 2009

27. At April 11, 2009, Nortel’s estimated consolidated cash balance was approximately
$2.6 billion. Nortel’s consolidated cash balance is held globally in various Nortel
entities and joint ventures. The following is an overview of Nortel’s consolidated

cash position as at April 11, 2009:
Case 09-10138-MFW

Doc 667-2 Filed 04/26/09 Page 9 of 27

JV's and

Other

Items

(see Available
Region Gross Cash Restricted below) Cash
NNL 220 (23) (11) 186
Other Canada 35 (23) - 12
NNI 679 (20) - 659
NNI - Reserve MMF (ST/LT) 41 - (41) -
NGS 48 - (48) -
Other US 2 - - 2
North America 1,025 (66) (100) 859
NN UK Limited 298 (23) - 275
Other EMEA Filed Entities 406 (3) - 403
JV - Netas 67 - (67) -
EMEA non-filed entities 22 - - 22
UK/Europe 793 (26) (67) 700
Greater China 213 (2) - 211
Other ASIA PAC (excl JVs) 189 - ~ 189
LG Nortel 237 - (237) -
Other JVs 27 - (2 -
ASIA 666 (2) (264) 400
Cala 89 - - 89
Total Treasury Cash 2,573 (94) (431) 2,048

28. As at April 11, 2009, North America had cash available for operations of
approximately $859 million. Of this amount, approximately $198 million is held by
Canadian entities and approximately $661 million is held by U.S. entities.

29. None of the Applicants’ Restricted Cash and Unavailable Cash is readily available to
them. Restricted Cash relates primarily to: (i) $17 million of cash collateral posted by
Nortel with respect to non-EDC performance bond and letter of credit facilities, (ii)
$4 million related to cash collateral required to issue EDC performance bonds in

exotic foreign currencies, (iii) $10 million held in escrow to the benefit of the insurer
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Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 10 of 27

related to the Global Class Action, (iv) $4 million belonging to the Health and
Welfare Trust (the “H& WT”), (v) $10 million held in the D&O Trust as described in
the Pre-filing Report. Unavailable Cash consists of $11 million deposited with

financial institutions for future potential letter of credit requirements.

NNI’s Restricted Cash includes the proceeds from the sale of the Layer 4-7 Business
of $18 million that is being held in escrow by JP Morgan until an agreement is
reached regarding allocation of these proceeds to various Nortel legal entities,
including NNL. NNI’s Unavailable Cash as at April 11, 2009 includes $41 million
dollars related to the Money Market Reserve Primary Fund (the “MMF”). Since
filing, an amount of $24 million has been received from the MMF. A further $16
million was received on April 17, 2009 and another $6 is expected to be received
before the end of 2009.

NGS, a U.S. non-filed entity, has cash of approximately $48 million for use in its own

operations and for settlement of inter-company transactions.

The U.K. Administrators had cash available for operations and post—filing inter-
company settlements for NNUK and the other EMEA Filed Entities, of approximately
$678 million. The EMEA non-filed entities have available cash of approximately $22
million which is expected to be used primarily to fund their in-country operations and
inter-company settlements. Pending further review, this cash is unavailable for

funding elsewhere in the Nortel group.

NETAS, a joint venture in which Nortel owns a 53% interest, has approximately $67
million of cash of which $36 million represents Nortel’s proportionate share. Nortel
believes these funds will continue to be used to fund NETAS’s operations and will be
difficult to repatriate for other funding purposes as approval of the other joint venture
partners would be required.

Nortel’s entities in the APAC region have approximately $400 million of cash

available for operations and inter-company settlements. As a result of the regulatory
35.

Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 11 of 27

regime in the People’s Republic of China, the funds in Greater China of
approximately $211 million are generally only available to fund operations within
China and inter-company settlements. Furthermore, Nortel’s LG Nortel Co. Ltd.
(“LGN”) joint venture and other joint ventures Nortel participates in, hold
approximately $264 million of cash of which $136 million represents Nortel’s share.
Repatriation of these funds requires approval of the respective joint venture partners.
In the week ended April 11, 2009, a dividend of approximately $58 million was paid
by LGN of which $29 million was received by NNL. The Monitor is not aware of
any further anticipated distributions.

Nortel’s CALA region entities have approximately $89 million of cash generally
available to fund their in-country operations and inter-company settlements. Pending
further review, this cash is likely unavailable for purposes of funding other Nortel

entities.

ACTUAL RECEIPTS AND DISBURSEMENTS FROM FEBRUARY 1, 2009 TO
APRIL 11, 2009

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The Applicants’ actual consolidated net cash outflow for the period from February 1
to April 11, 2009, was $62 million. A summary of the actual receipts and
disbursements as compared to the forecast filed with the First Report of the Monitor
dated February 5, 2009 (the “First Report Forecast”) is attached at Appendix A.

Actual net cash flow exceeded the forecast by $15 million. The significant items

contributing to the variance were as follows:

a) a positive permanent variance of $5.5 million with respect to the collection of
accounts receivable due to a combination of higher billings and lower than

projected delinquencies;

b) a positive timing variance of $2.8 million in other receipts primarily as the

result of release of collateral from unused bonding facilities was higher than

10
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 12 of 27

projected. This release represents a reduction in Unavailable Cash as

discussed in paragraph 38(a);

c) a negative net variance of inter-company receipts and disbursements of

approximately $17.0 million primarily as a result of:

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iv.

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a negative timing variance of $38.5 million as projected transfer

pricing payments were not funded during the period;

a negative permanent variance of $16.4 million with respect to
inventory receipts from NNI. The product flows from NNL to NNI
were lower than projected resulting in negative variances in the net
settlements for February and March of $10.0 million and $6.4 million,

respectively;

$5.1 million negative timing variance in inter-company inventory

receipts from Nortel Networks CALA Inc.;

$7.9 million negative timing variance in respect of research and
development and service chargeback reimbursements to Nortel
Networks China and GDNT of $6.2 million and $1.7 million,

respectively;

$29.0 million positive permanent variance related to NNL’s share of a
dividend distribution from LG Nortel that was not included in the First

Report Forecast; and

$20.0 million positive permanent variance on inventory receipts
related to the reimbursement to NNL for NNI’s and NNUK’s portion
of the costs related to the Flextronics Amending Agreement. There is

an offsetting $20 million negative variance in the inventory purchases

11
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 13 of 27

(see paragraph 37(e)). These variances resulted from the method by

which the Flextronics payment was made.

d) a positive payroll variance of $6.5 million due to two factors. First, positive
timing variances as reductions in the workforce for the first quarter were
implemented ahead of schedule. Second, a depreciation in the CAD dollar of

approximately three percent resulted in lower payroll costs in USD terms;

e) anegative inventory purchases variance of $18.9 million of which $20 million
related to NNI’s and NNUK’s share of the Flextronics payment that was paid
by NNL and reimbursed via inter-company (see paragraph 37(c)(vi)).

f) a positive permanent variance of $33.3 million as non-inventory
disbursements were lower than projected due to the run rate estimates in the
First Report Forecast not reflecting the post-filing experience of the
Applicants. Refined post-filing run rates for non-inventory disbursements

have been reflected in the revised forecast; and
g) apositive timing variance of $3.0 million related to professional fees.

38. Unavailable Cash decreased by approximately $6.4 million primarily as a result of

the following:

a) $3.0 million related to the higher than forecasted release of collateral from

unused bonding facilities as discussed in paragraph 37 (b) above; and

b) $3.5 million related to amounts that moved from Unavailable Cash to
Restricted Cash due to an increase in utilized portion of the RBC letter of

credit facility (as discussed in paragraph 39(b) below).

39. Restricted Cash increased by $15.7 million primarily as a result of the following:

12
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 14 of 27

a) $10.0 million related to the establishment of a D&O Trust amounts put aside
prior to filing by the Applicants as discussed in the Monitor’s Pre-Filing
Report. This amount was not included in Restricted Cash in the First Report

Forecast;

b) $3.5 million increase in the utilized portion of the RBC letter of credit facility;

and
c) $2.8 million increase in the balance of the H& WT

40. Post-filing, the Applicants have not advanced any loans to other non-Applicant Nortel

entities.

CASH FLOW FORECAST FOR THE PERIOD FROM APRIL 12, 2009 TO JULY
31, 2009

41. Nortel, with the assistance of the Monitor, has prepared an updated 16-week cash
flow forecast (the “April 12 Forecast”) for the period April 12 to July 31, 2009. A
copy of the April 12 Forecast is attached as Appendix B.

42. The cash flow forecast estimates the Applicants will have total receipts of $477
million and total disbursements of $533 million resulting in a net cash outflow of $56
million of Available Cash for the period of April 12, 2009 to July 11, 2009.

43. In the forecast period it is assumed NNL does not make any draws on the NNI Loan
beyond the $75 million drawn prior to February 1, 2009 (as described further in this
report).

44, At April 11, 2009, the Applicants have Available Cash balances of approximately
$198 million, which excludes Restricted Cash and Unavailable Cash of

approximately $57 million.

13
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 15 of 27

45. The significant assumptions used in preparing the April 12 Forecast include the

following:

a)

accounts receivable collections have been estimated by the Applicants’

. collection group based on revenue forecasts and historic customer collection

b)

d)

g)

h)

experience;
TPA (defined below) payments will be received as discussed below;

all disbursements are made assuming suppliers’ pre-filing amounts are stayed
and post-filing amounts are paid on significantly reduced credit terms as a

result of the CCAA proceedings;

inter-company trade accounts for post filing transactions continue to settle on
a cash basis in the normal course between the Applicants, U.S. Debtors,
EMEA Filed Entities and the other Nortel entities. Inter-company pre-filing
loans between the Applicants and all other Nortel filed and non-filed entities
are stayed;

severance payments are stayed during the forecast period;

pension funding payments are made for both current and special service
payments, based upon existing requirements with respect to the registered
defined benefit and defined contribution plans. Funding for non-registered

pension or other retirement plans is stayed;
funding in the ordinary course for the H&WT is included; and

all interest payments relating to the Company’s pre-filing indebtedness are
stayed,

46. As discussed in the Pre-Filing Report, and in the Monitor’s First Report, Nortel

conducts its business through global business units resulting in a high degree of

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Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 16 of 27

interdependence among the various legal entities in different countries around the

world.

A significant feature of this interdependence is the transfer pricing agreement (the
“TPA”) which provides for the provision of goods and services among various Nortel
entities and allocates profit or loss based on each relevant Nortel entity’s relative

share of corporate overhead costs and research and development.

As is discussed in the Affidavit of John Doolittle filed in respect of this Motion, the
Applicants continue to fund significant corporate overhead and research and
development costs that historically have been funded by the receipt of TPA payments.
The receipt of TPA payments by the Applicants is required to fund these ongoing

costs during the stay extension and beyond.

Since the date of filing under the CCAA, NNI made one payment under the TPA
which resulted in funding to the Applicants of $30 million, however, since then,
payments under the TPA have been suspended to allow all interested parties time to
review the TPA and cost funding issues while representatives of the Applicants, the
U.S. Debtors and the EMEA entities discussed the most appropriate means to fund
these costs during the restructuring. The Applicants have advised the Monitor that
NNI has not formally assumed the TPA in the Chapter 11 proceedings.

The Applicants, NNI, one of the U.S. Debtors, and certain of the EMEA entities,
through their U.K. Administrators, have recently come to a framework agreement
which will, in principle, result in net TPA payments to the Applicants from NNI and
the forebearance by NNUK of the enforcement of its purported right to receive
certain payments under the TPA which will result in net TPA payments to the
Applicants from NNI for the nine month period ending September 30, 2009 in the
amount of approximately $157 million. This equates to six monthly payments of
approximately $26.2 million during the second and third quarters. For purposes of
the April 12 Forecast it is assumed that $105 million of TPA payments will be

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Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 17 of 27

received on the following schedule: (i) week ending May 30, 2009 - $52 million
(representing April and May payments); (ii) week ending June 6, 2009 - $27 million;
and (iii) week ending July 4, 2009 - $26 million. This agreement is being
documented and once approved by the U.K. Administrators and the relevant boards of
directors, the Applicants and NNI intend to apply to this Honourable Court and the
U.S. Bankruptcy Court for a joint hearing to approve the agreement. In the
meantime, the parties are providing further information and cooperating with the
various stakeholders, and in particular, with representatives for the Committees in
advance of the proposed approval hearing. While the Applicants and Monitor are
hopeful that the Committees will support the approval of the agreement, no

assurances can be given at this time.

In the Monitor’s view, receipt of the assumed TPA payments, together with other
asset sale proceeds of approximately $75 million, are necessary in order for the
Applicants to have adequate cash resources to fund operations for the proposed stay

period.

PROGRESS ON RESTRUCTURING INITIATIVES

52. The Applicant’s continue to diligently pursue the restructuring of their global

operations with the assistance of their financial advisor and input from the Monitor in
consultation with the stakeholders. Nortel has made progress with several initiatives
that will generate cost reductions to decrease the Company’s cash burn, undertaken a
comprehensive operational and strategic review of its business units and legal entities
around the world and prepared a financial outlook for 2009 which has been presented

to and discussed with the major stakeholder groups of the various estates.

53. The various cost reduction initiatives include the following:

a) On February 25, 2009 the first phase of global workforce reductions was

announced;

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Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 18 of 27

b) Nortel is currently conducting a comprehensive review of its real estate needs

and preparing a comprehensive real estate strategy and restructuring plan;

c) Since the date of filing, Nortel’s restructuring efforts in North America have
resulted in the repudiation of five real estate leases in Canada which will
result in annual savings of approximately $2 million in operating costs, and
the rejection of six real estate leases in the United States which will result in
annual savings of approximately $11.5 million. The Applicants continue to

evaluate their real estate portfolio.

d) The Applicants are also reviewing various other contracts in conjunction with

its operational restructuring.

The Applicants continue to review various restructuring alternatives in conjunction

with its advisors, the Monitor, the Administrators and the Committees.

GROUP SUPPLIER PROTOCOL ARRANGEMENTS

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36.

In order to continue to conduct business in the ordinary course with EMEA entities
post-filing and post-administration, the Applicants and the U.S. Debtors entered into
separate Group Supplier Protocol Agreements (“GSPA”) with the U.K.
Administrators. The GSPAs contemplate an arrangement for post-filing receivables
and prevents the set-off of post filing liabilities against pre-filing obligations. The
first GSPA, including the provision that NNL’s obligations pursuant to the first
extension of GSPA be secured by the Inter-company Charge, was approved by this
Honourable Court on February 10, 2009.

The U.K. Administrators have continued to operate the business since the date of the
U.K. Administration Orders and interact with the Applicants and U.S. Debtors in
accordance with the GSPAs. The GSPAs have been extended by the parties,
substantially in the form of the initial GSPAs for a second, third and fourth time,
since the original expiry date of February 10, 2009. The GSPAs were extended on

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Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 19 of 27

April 21, 2009 pursuant to a deed (the “Fourth Extension Deed”) until May 5, 2009.
The extension of the GSPAs has contributed to the stabilization of the interconnected

businesses of Nortel.

The Applicants are requesting this Honourable Court retroactively approve the

subsequent extensions of the GSPA by the Applicants.

EXPORT DEVELOPMENT CANADA FACILITY

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On February 10, 2009, EDC and NNL signed the Amended and Restated Short Term
Support Agreement which extended the availability of the EDC Facility until May 1,
2009. This post-filing EDC Facility of up to $30 million is secured by a priority
charge on the Applicants’ assets as provided for in the Second Amended and Restated
Initial Order (the “EDC Charge”). As a result of ongoing discussions, EDC has since
agreed to both extend the Amended and Restated Short Term Support Agreement to
July 30, 2009 and amend its terms. The amended agreement clarifies that the EDC
Charge does not apply to bonds issued post filing as the result of the renewal of a
bond issued pre-filing except for the renewal of a bond issued pre-filing that was
completed during the period from January 14, 2009 to April 14, 2009. The EDC
Charge applies to all other new bonds issued post-filing.

As at April 17, 2009, there were approximately $4 million of bonds outstanding under
the $30 million post-filing EDC Facility. As well, there are approximately $141

million of pre-filing performance bonds outstanding.

The Applicants continue to have ongoing discussions with EDC and potential

fronting institutions which issue the performance bonds to put in place a more

. permanent performance bonding facility that will adequately support Nortel’s needs

over the longer term to provide performance bonds and guarantees to its customers to

support its sales contracts.

18
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 20 of 27

NNI LOAN

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On April 7, 2009 this Honourable Court approved an amended and restated loan
agreement dated as of March 27, 2009 (the “Amended NNI Loan Agreement”)
between NNI, as lender, NNL as borrower and NNC and the other Applicants as
guarantors. At the motion for approval the UCC enumerated several reservations of
rights. At the request of this Honourable Court, the Monitor has summarized below
in paragraph 65 those reservations as conveyed by counsel for the UCC. The Monitor

has also summarized the related issues arising therefrom.

In its Pre-Filing Report, the Monitor noted the Applicants sought approval of a loan
agreement between NNI, as lender, NNL, as borrower and NNTC, as guarantor (the
“Original NNI Loan Agreement”) to provide for post filing advances (the
“Advances”) up to $200 million. Any Advances would be secured by the Carling
Facility Charges (as defined in the Second Amended and Restated Initial Order and as
more fully described in the Monitor’s Pre-Filing Report and First Report).

As part of the first day orders that were granted in the Chapter 11 proceedings, NNI
was granted approval to advance up to $75 million pursuant to the Original NNI Loan
Agreement. Approval for NNI to advance any further amounts under the Original
NNI Loan Agreement was adjourned and has not been heard by the U.S. Court as of
the date of this Eighth Report.

As outlined in the Monitor’s Sixth Report, the Amended NNI Loan Agreement and
corresponding changes reflected in the Second Amended and Restated Initial Order,
among other things, expands the scope of the guarantee to include NNC, NNIC and
NNGC (in addition to NNTC), retains the Carling Facility Charge and adds a new
NNI Loan Charge which ranks ahead of the Inter-company Charge but after the
Directors’ Charge. No enforcement action can be taken pursuant to the NNI Loan

Charge without prior order of this Honourable Court. Furthermore, NNI is not

19
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Case 09-10138-MFW Doc 667-2 Filed 04/26/09. Page 21 of 27

required to exhaust all of its remedies under the Carling Facility Charge prior to

exercising its rights under the NNI Loan Charge.

In the CCAA proceedings, the UCC agreed to the Amended NNI Loan Agreement

and the consequential amendments to the Second Amended and Restated Initial

Order;

however, at the motion reserved its rights on a number of matters. As

requested by The Honourable Mr, Justice Morawetz, the following summarizes those

reservations of rights as communicated to the Monitor by legal counsel to the UCC:

a)

Priority of the NNI Loan Charge — As it applies to any additional amounts that
may be loaned under the Amended NNI Loan Agreement, the UCC’s position
is that the NNI Loan Charge should rank pari passu with the EDC Charge.

_ The UCC also reserved its right that if further funds are advanced it would

b)

c)

claim that the first $75 million advanced to date should also be afforded the
same priority charge as any additional amounts which may be advanced by
NNI to NNL.

Modifications to loan agreements — To the extent any additional amounts are
required to be loaned under the Amended NNI Loan Agreement, the UCC’s
position is that the agreement should be amended to include typical DIP
lender protections including reporting requirements, covenants on use of

proceeds, etc.

Adequacy of collateral and priority of charge for post-petition inter-company
advances — To the extent the UCC determines the collateral under the Inter-
company Charge, to secure the post-petition inter-company advances, is
inadequate, or is being diluted by reason of the collateral being limited to
NNL’s assets rather than the property and assets of all the Applicants, the
UCC reserves the right to request the Inter-company Charge be expanded to
include the property and assets of all the Applicants. The UCC further
reserves its right to request the NNI Loan Charge should potentially be used to

20
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 22 of 27

secure those amounts advanced by [NNI] (sic) or another of the U.S. Debtors
instead of being granted protection under the lower ranking Inter-company

Charge.

d) Charge granted to NNL over the assets of NNTC - in respect of the Inter-
company Charge also securing advances by NNL to NNTC, the UCC reserves
its right to revisit this charge to assure itself the inclusion of that charge in the

Inter-company Charge would not be dilutive of NNI’s charge thereunder.

66. The Monitor has been advised by other stakeholders that they do not accept the views
of the UCC in relation to the Amended NNI Loan Agreement and the Second
Amended and Restated Initial Order. The Monitor notes the foregoing views of the
UCC could have a potential negative effect on other stakeholders and in particular
those stakeholders which have been granted Court ordered charges and relied upon

them.
STAKEHOLDER MATTERS

67. Since the February 10, 2009 stay extension hearing Nortel’s management and the
Monitor have reached out to certain of the Applicant’s major stakeholders. The
Monitor’s First Report noted the formation of an Ad Hoc Bondholder Committee and
that committee’s engagement of counsel and advisors. Nortel’s management and the
Monitor have met with the Ad Hoc Bondholder Committee and its advisors to update
them on the status of the restructuring and share any information with them that has

been shared with other major stakeholders.

MOTIONS FOR THE APPOINTMENT OF REPRESENTATION COUNSEL AND
PAYMENT MOTIONS

68. On April 20, 2009, this Honourable Court heard motions by four parties for the
appointment of representative counsel for unionized, non-unionized, active and

severed employees and retirees. In addition, on April 21, 2009, this Honourable

21
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 23 of 27

Court heard motions by the CAW-Canada and representatives of certain former
employees seeking the recommencement of certain payments by the Applicants. No

Orders have been issued in respect of these motions at the date of this eighth report.

REQUEST FOR AN EXTENSION TO THE STAY OF PROCEEDINGS

69,

Pursuant to the Order of this Honourable Court dated February 10, 2009, the stay
extension granted expires on May 1, 2009. The Applicants are seeking an extension

of the Stay Period for a period of 90 days, until and including July 30, 2009.

MONITOR’S ANALYSIS AND RECOMMENDATIONS

70.

71.

72.

73.

The Monitor has assisted and continues to assist the Applicants in their efforts to
review its operations and assess a range of restructuring alternatives in consultation
with the Applicants’ legal and financial advisors. The Monitor believes that the
Applicants are working diligently and in good faith towards developing a
restructuring strategy to address its financial and strategic issues in the context of a

complex multijurisdictional set of insolvency proceedings.

The Monitor supports the Applicants’ request to have the second, third and fourth
extensions to the GSPA and the extension of and modification to the Amended and
Restated Short Term Support Facility Agreement with EDC approved by this

Honourable Court.

In the Monitor’s view the restructuring of Nortel will require significant additional

time to formulate an agreed upon restructuring strategy in conjunction with the
Monitor, the U.K. Administrator and the Committees and implement same. The
extension of the stay of proceedings to July 30, 2009 is necessary for the restructuring
strategy and plan to be fully developed.

It is the Monitor’s view that based upon the key assumptions used in preparation of

the Applicants’ 16 week cash flow forecast that the Applicants would have sufficient

22
Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 24 of 27

available cash resources during the requested Stay Period and that an extension of the
Stay Period will permit the Applicants to make further progress developing a
restructuring strategy and filing a plan of arrangement. Accordingly, the Monitor
recommends the stay of proceedings be extended to July 30, 2009.

All of which is respectfully submitted this 24 day of April 2009.

ERNST & YOUNG INC.
In its capacity as Monitor of the Applicants

Murray A. McDonald
President

23
Case 09-10138-MFW

Receipts
Collection of Accounts Recelvable
Other Receipts
Intercompany Receipts
Intercompany Receipts - Transfer Pricing

Total Receipts

Disbursements
Payroll (Gross)
Benefits
Pension
Inventory Purchases
Non-Inventory Purchases
intercompany Disbursements
Restructuring Costs

Total Disbursements

Net Cash Flow
FX Impact

Opening Available Cash Balance
Closing Avallable Cash Balance

Unavailable Cash
Total Cash

Restricted Cash
Total Cash + Restricted Cash

Doc 667-2 Filed 04/26/09

Page 25 of 27

APPENDIX A

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28.4 31.2 2.8
84.4 119.8 35.4
38.5 - (38.5)

262.5 2677 52

104.3 97.8 6.5
18.9 19.1 (0.2)

3.8 3.5 0.3
74.8 93.5 (18.9)

108.8 75.5 33.3
18.5 32.4 (13,9)
10.8 7.9 2.9

330.7 329.7 10.0
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184.1 197.5 13.4
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Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 26 of 27

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Case 09-10138-MFW Doc 667-2 Filed 04/26/09 Page 27 of 27

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